OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:96CR00066-020
                      JASPER LEE TONEY
                                                                       )   USM No: 12580-058
Date of Previous Judgment: 1/26/2000                                   )   Charles Morgan
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 210           months is reduced to 168 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33               Amended Offense Level:                                         31
Criminal History Category: V                Criminal History Category:                                     V
Previous Guideline Range: 210 to 262 months Amended Guideline Range:                                       168       to 210   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation


Except as provided above, all provisions of the judgment dated 1/26/2000                          shall remain in effect.
IT IS SO ORDERED.

Order Date:        August 27, 2009


Effective Date:
                     (if different from order date)



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